        Case 1:24-mj-00183-GMH Document 1-1 Filed 05/23/24 Page 1 of 10




                                   STATEMENT OF FACTS

        Your affiant,                        , is a Special Agent with the Federal Bureau of
Investigation (“FBI”) assigned to the Counterterrorism section. In my duties as a Special Agent, I
am responsible for investigating matters related to counterterrorism and other crimes. Currently, I
am tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a special agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
Case 1:24-mj-00183-GMH Document 1-1 Filed 05/23/24 Page 2 of 10
Case 1:24-mj-00183-GMH Document 1-1 Filed 05/23/24 Page 3 of 10
Case 1:24-mj-00183-GMH Document 1-1 Filed 05/23/24 Page 4 of 10
Case 1:24-mj-00183-GMH Document 1-1 Filed 05/23/24 Page 5 of 10
Case 1:24-mj-00183-GMH Document 1-1 Filed 05/23/24 Page 6 of 10
Case 1:24-mj-00183-GMH Document 1-1 Filed 05/23/24 Page 7 of 10
Case 1:24-mj-00183-GMH Document 1-1 Filed 05/23/24 Page 8 of 10
Case 1:24-mj-00183-GMH Document 1-1 Filed 05/23/24 Page 9 of 10
       Case 1:24-mj-00183-GMH Document 1-1 Filed 05/23/24 Page 10 of 10




        Your affiant submits there is also probable cause to believe that TRISTAN SETH
BROADRICK violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully
and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or
disrnptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrnpt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.




                                                    Special Agent
                                                    Federal Bureau of Invesetigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 23       day of May 2024.
                                                                            Digitally signed by
                                                                            G. Michael Harvey
                                                    G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE
